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 7   United States of America

 8
 9                                IN THE UNITED STATES DISTRICT COURT

10                                   EASTERN DISTRICT OF CALIFORNIA

11

12   UNITED STATES OF AMERICA,                                  CASE NO. 1:06-cr-00365 LJO
13                                   Plaintiff,                 MOTION TO DISMISS INDICTMENT;
                                                                ORDER THEREON
14   v.
15   NAJEH KAMAL JAWAD,
16                                   Defendant,
17

18
                The United States Attorney's Office, pursuant to the Deferred Prosecution Agreement entered
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     into on December 11, 2012 and Rule 48(a) of the Federal Rules of Criminal Procedure, hereby
20
     moves to dismiss the Indictment against NAJEH KAMAL JAWAD with prejudice in the interest of
21
     justice.
22
     DATED: December 12, 2013
23

24                                              /s/Henry Z. Carbajal III
                                                HENRY Z. CARBAJAL III
25                                              Assistant United States Attorney
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                                                            1
29        MOTION TO DISMISS INDICTMENT; ORDER
          THEREON
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                              Case 1:06-cr-00365-LJO-BAM Document 363 Filed 12/12/13 Page 2 of 2



 1

 2                                                                ORDER

 3                              The Indictment in this matter as to NAJEH KAMAL JAWAD is dismissed with prejudice.

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 7 IT IS SO ORDERED.

 8                         Dated:     December 12, 2013                  /s/ Lawrence J. O’Neill
 9   DEAC_Signature-END:
                                                                     UNITED STATES DISTRICT JUDGE

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29                         MOTION TO DISMISS INDICTMENT; ORDER
                           THEREON
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